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 Counsel to the Liquidating Trust


                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW JERSEY


 In re:                                                      Chapter 11

 FRANK THEATRES BAYONNE/SOUTH                                Case No. 18-34808 (SLM)
 COVE, LLC, et al.,1
                          Debtors.                           Jointly Administered


      LIQUIDATING TRUST’S APPLICATION FOR ENTRY OF STIPULATION AND
     CONSENT ORDER (I) WITHDRAWING CLAIM NUMBER 73 AND (II) REDUCING
       CLAIM NUMBER 74 FILED BY TWENTIETH CENTURY FOX FILM CORP.

               Advisory Trust Group, LLC, in its capacity as Trustee (the “Liquidating Trustee”)

 of the Frank Theaters Liquidating Trust (the “Liquidating Trust”), by and through its

 undersigned counsel, hereby submit this application (the “Application”) for entry of the

 stipulation and consent order (the “Consent Order”), submitted to the Court on the date hereof,

 with respect to the claims filed by Twentieth Century Fox Film Corp. (the “Claimant”) including

 1
   The Post-Confirmation Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer
 identification number are as follows: Frank Theatres Bayonne/South Cove, LLC (3162); Frank All Star Theatres,
 LLC (0420); Frank Theatres Kingsport LLC (5083); Frank Theatres Montgomeryville, LLC (0692); Frank Theatres
 Rio, LLC (1591); Frank Theatres Towne, LLC (1528); Frank Theatres Mt. Airy, LLC (7429); Frank Theatres
 Sanford, LLC (7475); Frank Theatres Shallotte, LLC (7548); Revolutions at City Place LLC (6048); Revolutions of
 Saucon Valley LLC (1135); Frank Entertainment Rock Hill LLC (0753); Frank Entertainment PSL, LLC (7033);
 Frank Hospitality Saucon Valley LLC (8570); and Galleria Cinema, LLC (2529).
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 the following (i) proof of claim number 73 in the amount of $130,894.89 on behalf of Claimant

 against Debtor Frank Theatres Bayonne/South Cove LLC (“Claim 73”); and (ii) proof of claim

 number 73 in the amount of $130,894.89 on behalf of Claimant against Debtor Frank

 Entertainment Group LLC (“Claim 74”) (Claim 73 and 74 are collectively referred to as the

 “Claims”). In support of this Application, the Liquidating Trust respectfully submits as follows:

               JURISDICTION, VENUE, AND STATUTORY PREDICATES

        1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

 and the Standing Order of Reference to the Bankruptcy Court Under Title 11 of the United States

 District Court for the District of New Jersey, entered on July 23, 1984, and amended on

 September 18, 2012. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

 This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

        2.      The statutory predicates for the relief requested herein are section 105(a) of title

 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”) and Rule 9021-

 1(b) of the Local Rules of the United States Bankruptcy Court for the District of New Jersey (the

 “Local Rules”).

                                         BACKGROUND

 A.     General Background

        3.      On December 19, 2018 (the “Petition Date”), each of the Debtors filed a

 voluntary petition with the Court under chapter 11 of the Bankruptcy Code. The cases are being

 jointly administered pursuant to Bankruptcy Rule 1015(b).

        4.      The Debtors continued in possession of their properties as debtors-in-possession

 pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        5.      On July 29, 2019, the Court entered its Findings of Fact, Conclusions of Law, and

 Order Confirming the Debtors’ First Amended Chapter 11 Plan of Reorganization Under


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 Chapter 11 of the Bankruptcy Code [Docket No. 687] (the “Confirmation Order”) confirming the

 Debtors’ First Amended Chapter 11 Plan of Reorganization Under Chapter 11 of the Bankruptcy

 Code.

            6.      On October 29, 2019, the Court entered a consent order [Docket No. 783]

 confirming the Debtors’ Modified First Amended Plan of Reorganization Under Chapter 11 of

 the Bankruptcy Code [Docket No. 783] (the “Modified Plan”).

            7.      On October 31, 2019, the Effective Date2 of the Modified Plan occurred. See

 Notice of (I) Entry of Confirmation Order, (II) Occurrence of Effective Date, and (III) Related

 Bar Dates [Docket No. 792].

 B.         Appointment, Rights, Powers, and Duties
            of the Liquidating Trust and Liquidating Trustee

            8.      The Liquidating Trust was created pursuant to and to effectuate the Modified

 Plan, see Frank Theaters Liquidating Trust Agreement (the “Liquidating Trust Agreement”) at

 13, and for the purpose of distributing the Liquidating Trust Assets to the Liquidation Trust

 beneficiaries . . .” Modified Plan at Section V.B.

            9.      The Modified Plan provides that “[a]s of the Effective Date . . . the Liquidating

 Trust (for General Unsecured Claims)… shall have the sole authority to [f]ile objections, settle,

 compromise, withdraw or litigate to judgment objections to all [General Unsecured] Claims.”

 See Modified Plan at Section VII.

            10.     Similarly, pursuant to the Liquidating Trust Agreement, the Liquidating Trustee

 “shall have the authority to allow, reconcile, and file objections to General Unsecured Claims,




 2
     See Notice of Effective Date [Docket No. 792].
 3
  See Notice of Filing of Plan Supplement for the Debtors’ First Amended, Joint Plan of Reorganization    Under
 Chapter 11 of the Bankruptcy Code, dated July 11, 2019, at Exhibit F [Docket No. 628]


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 and to settle, compromise, withdraw, or litigate to judgment objections to any and all General

 Unsecured Claims.” See Liquidating Trust Agreement, at Section 3.3.

 C.      The Bar Date and Claims Reconciliation Process

         11.     On January 25, 2019, the Debtors filed their Schedules of Assets and Liabilities

 and Statements of Financial Affairs.

         12.     On February 11, 2019, the Court established March 13, 2019 as the bar date for

 filing claims against the Debtors held by non-governmental entities and June 17, 2019 as the bar

 date for filing claims against the Debtors held by governmental entities [Docket No. 65].

         13.     The official claims register, prepared and maintained by the Debtors’ claims

 agent, reflects that 326 proofs of claim were filed against the Debtors’ estates.

         14.     Since the Effective Date, the Liquidating Trustee, on behalf of the Liquidating

 Trust, has been working diligently to review those proofs of claim for which the Liquidating

 Trust is responsible for objecting, including any supporting documentation accompanying any

 such proof of claim. The Liquidating Trustee continues to review and reconcile claims for which

 the Liquidating Trust is responsible.

 D.      The Fox Claim

         15.     On February 4, 2019, Claimant filed Claim No. 73 asserting an unsecured claim

 in the amount of $130,894.89 against Debtor Frank Theatres Bayonne/South Cove LLC.

         16.     Also on February 4, 2019, Claimant filed Claim No. 74 asserting an unsecured

 claim in the amount of $130,894.89 against Debtor Frank Entertainment Group LLC.

         17.     The Claimant alleges these amounts are due and owing by Frank Theatres

 Bayonne/South Cove LLC and Frank Entertainment Group LLC in connection with certain film

 distribution rights.




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        18.     The Liquidating Trustee, on behalf of the Liquidating Trust, asserted an informal

 objection with respect to the Claims. As a result, the Liquidating Trustee and the Claimant

 engaged in negotiations and have reached a consensual resolution with respect to the Claims.

 This resolution is memorialized in the Consent Order and avoids the need for formal litigation

 with respect to the Claims.

                      RELIEF REQUESTED AND BASIS FOR RELIEF

        19.     By this Application, the Liquidating Trust seek entry of the Consent Order, in lieu

 of a motion, pursuant to Local Rule 9021-1(b).

        20.     Pursuant to the Consent Order, (i) the Liquidating Trustee has agreed to the

 allowance of Claim No. 74 as a General Unsecured Claim (as defined in the Modified Plan) in

 the amount of $90,891.23 and (ii) the parties have agreed that Claim No. 73 shall be withdrawn

 and expunged with prejudice.

        21.     The proposed Consent Order is in the best interests of the Liquidating Trust and

 its creditors because it avoids the need for formal litigation with respect to the Claims and the

 attendant cost associated therewith. Accordingly, the Liquidating Trust respectfully submit that

 the Court should enter the proposed Consent Order pursuant to Local Rule 9021-1(b).




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                                        CONCLUSION

         WHEREFORE, the Liquidating Trust respectfully requests that the Court enter the

 Consent Order in accordance with Local Rule 9021-1(b) and grant such other and further relief

 as the Court deems just and proper.


  Dated: May 1, 2020



                                        /s/ Joseph L. Schwartz
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                                       -and-

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